Case No. 1:15-cr-00395-REB Document 173 filed 09/10/19 USDC Colorado pg 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                     OFFICE OF THE CLERK

JEFFREY P. COLWELL
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                                                                                    901 19th Street
                                                                               Denver, Colorado 80294
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 September 10, 2019                                                             www.cod.uscourts.gov


Clerk
U.S. Court of Appeals for the Tenth Circuit
Byron White United States Courthouse
1823 Stout Street
Denver, CO 80257

RE: USA v. Alan Alonzo Williams

District Court Case No. 15-cr-395 REB
Court of Appeals Case No. 19-1229

Dear Clerk:

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Enclosed please find the Record on Appeal involume s which consist of the IROORZLQJ


 Volume I - Electronic Pleadings
 Volume II - Electronic Documents
 Volume III - Electronic Documents
 Volume IV - Restricted Level-3
 Volume V - Restricted Level-2
 Volume VI - Restricted Level-4
 Volume VII - Transcripts
 V l    VIII T         i (90 D R          i i   )         JEFFREY P. COLWELL, CLERK


                                                          By: s/ E. Van Alphen
                                                          Deputy Clerk
